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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ADAM ROMANOWICZ,                  )
                                  )
          Plaintiff,              )
                                  )                 Case No.: 1:18-cv-2766
VILLAGE GREEN MANAGEMENT          )
COMPANY LLC and TWLS              )                 JURY TRIAL DEMAND
MANAGEMENT, INC. d/b/a THE SHELBY )
APARTMENTS,                       )

               Defendants.

      VILLAGE GREEN MANAGEMENT COMPANY’S AGREED MOTION FOR AN
           EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD TO
                          PLAINTIFF’S COMPLAINT

       Defendant, Village Green Management Company LLC (“Village Green”) (“Defendant”), by

and through its attorneys, Lewis Brisbois Bisgaard & Smith LLP, hereby files this agreed motion

and moves this Court for a thirty (30) day extension for Defendant to answer or otherwise plead to

Plaintiff’s Complaint. In support of this agreed motion, Defendant states as follows:

       1.      Plaintiff filed his Complaint against Defendant on April 18, 2018. Plaintiff alleges

violations of the Copyright Act, 17 U.S.C. § 106.

       2.      Defendant was served with the Complaint on or about April 27, 2018, Consequently,

Defendant’s current deadline to file their answers or otherwise plead is May 18, 2018. That deadline

has not yet expired.

       3.      Defendant respectfully requests an extension to file an answer or to otherwise plead to

Plaintiff’s Complaint until June 18, 2018. Defendant requires additional time to investigate the

allegations against it in order to formulate its answers and/or other responsive pleadings.

       4.      Defendant’s counsel has conferred with Plaintiff’s counsel regarding this extension.

Plaintiff’s counsel has no objection to this motion and the requested 30 day extension.
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       5.      Defendant requests this extension of time in good faith and not in an effort to delay

this matter. This brief extension of time will not prejudice any party.

       WHEREFORE, Defendant, Village Green Management Company LLC, respectfully requests

that this Court grant Defendant an additional 30 days to answer or otherwise plead to Plaintiff’s

Complaint, and for any other relief this Court deems just and appropriate.



                                                 Respectfully submitted,

                                                 Village Green Management Company LLC

                                                 /s/ Bryan P. Sugar___________________


                                                 By: One of Their Attorneys

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                                      Certificate of Service
                                          1:17-cv-6081

       I hereby certify that on May 9, 2018, I filed and served the foregoing with the Clerk’s Office
of the U.S. District Court for the Northern District of Illinois, using the CM/ECF filing system,
which will notify all parties of record via electronic service, including those listed below.

                                                      By: /s/ Bryan P. Sugar


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